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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION AT DAYTON

 UNITED STATES OF AMERICA,

                               Plaintiff,             :      Case No. 3:00-cr-065



                                                             District Judge Walter H. Rice
        -   vs    -                                          Magistrate Judge Michael R. Merz

 BRIAN KEITH ALFORD,

                               Defendant.             :



                       REPORT AND RECOMMENDATIONS



         This federal criminal case is before the Court on Defendant’s Motion for New Trial with/

 Newly Discovered Evidence of Brady Violations (“Motion,” ECF No. 177). District Judge Walter

 H. Rice, to whom this case has been assigned since the Indictment was returned on July 11, 2000

 (ECF No. 9), has referred the Motion to the undersigned for a report and recommended disposition

 (ECF No. 178).



 Litigation History

        Defendant was arraigned on July 13, 2000, and pleaded not guilty (ECF No. 10). The case

 was tried to a jury in February, 2002, which returned verdicts of guilty on both counts (armed bank

 robbery and use of a firearm in an offense affecting interstate commerce). On December 12, 2000,

 Judge Rice sentenced Alford to sixty months on Count One and eighty-four months on Count Two

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 to be served consecutively to Count One (ECF No. 98). Alford appealed and the Sixth Circuit

 affirmed his conviction (ECF No. 125). On March 7, 2005, the Supreme Court of the United States

 denied certiorari (ECF No. 128).

         Alford has sought relief from his conviction in a number of ways, all of which have been

 unsuccessful. Most recently on November 14, 2017, the Sixth Circuit denied Alford a certificate

 of appealability from this Court’s denial of his motion for relief from judgment (ECF No. 174).

 The instant Motion followed nearly seven years later.



                                            Analysis



         Fed. R. Crim. P. 33 governs motions for new trial and provides that any such motion based

 on newly discovered evidence must be filed within three years of the verdict. Because the verdicts

 were entered February 28, 2002, Alford’s time to file for a new trial on the basis of newly-

 discovered evidence expired February 28, 2005. The instant Motion was not filed until it was

 mailed to the Court on September 6, 2024, more than nineteen years late.

         Alford asserts the Government failed in its obligation to disclose exculpatory evidence

 under Brady v. Maryland, 373 U.S. 83 (1963). The evidence not revealed is described as the fact

 that a key government witness, Darryl Lynn Parsons was incarcerated at the Montgomery County

 Jail with charges pending in June, 2000, and the disposition of those charges was never disclosed

 to Defendant for impeachment purposes at trial (Motion, ECF No. 177, PageID 3216). Alford

 claims he learned these facts from “Frank P. Turpin after trial,” but he never says when he learned

 them.




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        Alford claims the Court can infer due diligence on his part from the facts the has disclosed,

 but the undersigned disagrees. In any event, Fed. R. Crim. P. 33 does not provide an exception to

 the three-year limit for new evidence discovered outside that time with due diligence.



 Conclusion



        Based on the foregoing analysis, the Magistrate Judge respectfully recommends the Motion

 for New Trial be denied. Because reasonable jurists would not disagree with this conclusion, it is

 also recommended that the Court certify to the Sixth Circuit that any appeal would be objectively

 frivolous and should not be permitted to proceed in forma pauperis.



 October 28, 2024.

                                                             s/ Michael R. Merz
                                                            United States Magistrate Judge


                            NOTICE REGARDING OBJECTIONS

 Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
 proposed findings and recommendations within fourteen days after being served with this Report
 and Recommendations. Because this document is being served by mail, three days are added under
 Fed.R.Civ.P. 6, but service is complete when the document is mailed, not when it is received. Such
 objections shall specify the portions of the Report objected to and shall be accompanied by a
 memorandum of law in support of the objections. A party may respond to another party’s
 objections within fourteen days after being served with a copy thereof. Failure to make objections
 in accordance with this procedure may forfeit rights on appeal. 




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